                                       IN THE UNITED STATES DISTRICT COURT
                                      FOR THE WESTERN DISTRICT OF MISSOURI

        K.C. HOPPS, LTD.,                                   )
                                                            )
                     Plaintiff,                             )      CASE NO. 4:20-CV-437
                                                            )
                     vs.                                    )
                                                            )
        THE CINCINNATI INSURANCE                            )
        COMPANY,                                            )
                                                            )
                     Defendant.                             )

                                              DEFENDANT’S WITNESS LIST


                     COMES NOW Defendant The Cincinnati Insurance Company, through its attorneys, and

        submits the following witness list pursuant to Fed.R.Civ.P.26(a)(3) and the Court’s Scheduling

        and Trial Order:

               I.          Those expected to be called by Defendant.

                           1. A Corporate Representative of The Cincinnati Insurance Company;

                           2. Chad Dowdy (See deposition for address and telephone number);

                           3. Tony Henn (See deposition for address and telephone number);

                           4. Dave Schlader (See deposition and expert disclosure for address and telephone

                              number);

                           5. Dr. Keith Armitage (See deposition and expert disclosure for address and telephone

                              number); and

                           6. Dr. Wayne Thomann.

               II.         Witnesses Defendant may call if the need arises

                           1. A corporate representative of KC Hopps;



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                2. Ed Nelson (See deposition for address and telephone number);

                3. Kevin O’Brien (See deposition for address and telephone number);

                4. Darrin LyGrisse (See deposition for address and telephone number);

                5. J.R. Reilly (See deposition for address and telephone number);

                6. Witnesses identified in Plaintiff’s Rule 26 Disclosures;

                7. Witnesses identified in Plaintiff’s Interrogatories;

                8. Witnesses identified in Plaintiff’s Witness List;

                9. Witnesses identified in Defendant’s Rule 26 Disclosures;

                10. Witnesses identified in Defendant’s Interrogatories; and

                11. Rebuttal witnesses.



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        CERTIFICATE OF SERVICE
        I hereby certify that on September 13, 2021, I
        electronically filed the foregoing document with the
        Clerk of the Court using the CM/ECF system which will
        send a notice of electronic filing to:

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